                 Case 24-14482-PDR        Doc 31     Filed 09/30/24     Page 1 of 2



                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              FORT LAUDERDALE DIVISION


IN RE:

ROI NEEMAN,                                           Case No.: 24-14482-BKC-PDR
                                                      Chapter 7
         Debtor.
                                                 /

                TRUSTEE'S AGREED MOTION FOR SECOND EXTENSION OF
                      TIME TO FILE OBJECTIONS TO DISCHARGE

         COMES NOW, the Trustee, Leslie S. Osborne, by and through undersigned counsel

hereby files this Motion For Second Extension of Time to File Objections to Discharge and

would state as follows:

         1.      The Debtors 341 meeting of creditors was held on June 11, 2024.

         2.      Subsequent thereto, the Trustee has been obtaining and reviewing documentation

requested at the 341 Meeting of Creditors, has set the Debtor for a 2004 Examination, and is

reviewing documents received pursuant to the Examination document request.

         3.      The Trustee wishes to complete his documentation review before filing any

objections to discharge.

         4.      The current deadline within which to file objections to discharge is September 30,

2024 pursuant to this court’s order dated August 8, 2024 [ECF 20]. Therefore, this motion is

timely filed.

         5.      Due to the nature of this particular case the Trustee believes he needs an

additional thirty (30) days within which to file any objections to discharge.

         6.      The Trustee has contacted counsel for the Debtor who agreed to a second thirty

(30) day extension of the discharge deadline.
                 Case 24-14482-PDR               Doc 31       Filed 09/30/24         Page 2 of 2



         WHEREFORE, Trustee, Leslie S. Osborne, hereby requests this court grant him a thirty

(30) day extension to file objections to discharge or through October 30, 2024.

         I hereby certify that a true and correct copy of the foregoing was served via Electronic

and/or U.S. Mail, upon all parties set forth below on 30th day of September, 2024.

        I hereby certify that I am admitted to the Bar of the United States District Court for the Southern District of
Florida and I am in compliance with the additional qualifications to practice in this Court set forth in Local Rule
2090-1(A).

                                                           Leslie S. Osborne, Trustee
                                                           1300 N. Federal Hwy #203
                                                           Boca Raton, FL 33432
                                                           Telephone: (561) 368-2200
                                                           Email: office@rorlawfirm.com


                                                           By:______/s/____________
                                                              Leslie S. Osborne, TRUSTEE
                                                              FLORIDA BAR NO. 0823139



SERVICE LIST

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